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                 �nitrh �tatrs Qiourt of J\pprals
                               FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 20-5206                                                   September Term, 2019
                                                                        1 : 19-mc-00145-TSC
                                                          Filed On: July 22, 2020
In re: In the Matter of the Federal Bureau of
Prisons' Execution Protocol Cases,



James H. Roane, Jr., et al.,

              Appellees

       V.

William P. Barr, Attorney General, et al.,

              Appellants

Consolidated with 20-5210
                                           ORDER

       Upon consideration of appellants' motion to dismiss their appeal in No. 20-5206
as moot and to vacate the court's briefing order to the extent that it requires the
government to file an opening brief on July 20, 2020, and appellants' representation
that appellee Keith Nelson does not oppose this motion, it is

       ORDERED that the briefing schedule entered in these consolidated cases on
July 15, 2020, be vacated and No. 20-5206 be dismissed. It is

        FURTHER ORDERED that the consolidation of No. 20-5206 with No. 20-5210
be terminated. Cross-appellant Keith Nelson is directed to file a motion to govern
further proceedings in No. 20-5210 by July 29, 2020. Failure to comply with this order
will result in dismissal of the appeal for lack of prosecution. See D.C. Cir. Rule 38.

       The Clerk is directed to issue forthwith the mandate in No. 20-5206.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/
                                                            Scott H. Atchue
                                                            Deputy Clerk
